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 1                                                               Honorable Stanley A. Bastian
                                                                 Trial Date: February 28, 2023
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 7                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF WASHINGTON
 8
     USI INSURANCE SERVICES NATIONAL,            Case No. 2:17-cv-01394-SAB
 9   INC.,
                                                 Defendants’ Opposition To Plaintiff’s
10                   Plaintiff,                  Motions In Limine
11         v.
                                                 ORAL ARGUMENT REQUESTED
12   STANLEY OGDEN, et al.
13                   Defendants.
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 1           Defendants Stanley Ogden (“Ogden”), Eleanor O’Keefe (“O’Keefe”), John Haskell, Jr.

 2   (“Haskell”) and ABD Insurance and Financial Services, Inc. (“ABD”) 1, by and through their

 3   undersigned counsel, respectfully submit this memorandum in opposition to Plaintiff’s Motions in

 4   Limine.

 5   I.      INTRODUCTION

 6           Plaintiff’s Motions in Limine improperly seek the exclusion of relevant and highly

 7   probative evidence on issues that are critical to the outcome of this case. At trial, Plaintiff intends

 8   to ask the jury for an award of at least $10,154,824.00 in alleged consequential damages,

 9   representing ten years of allegedly lost profits that Plaintiff claims it would have earned if (i)

10   Ogden and O’Keefe had not handled the insurance business of their former WFIS clients for two

11   years after they resigned from Plaintiff, and (ii) if Haskell had not provided the name of Kurt de

12   Grosz to Lewis Dorrington (even though Dorrington already knew and had met with de Grosz).

13   As a result, two of the key issues that the jury will be called upon to decide are (a) whether the

14   Defendants’ breaches of contract actually caused Plaintiff to lose its customers and the ten years

15   of profits it claims; and (b) the proper quantification of any losses Plaintiff proves it suffered.

16           Plaintiff’s Motions in Limine seek the preemptive, blanket exclusion of entire categories

17   of evidence that are directly relevant to the question of causation that is to be decided by the jury.

18   To begin, Plaintiff asks the Court to exclude all evidence regarding the banking scandals at Wells

19   Fargo that received sustained, national media attention in late 2016 and early 2017. Excluding this

20   evidence would be patently unfair and misleading to the jury. As the Court may recall, Defendants

21   worked for Plaintiff when the business was owned by Wells Fargo and was known as Wells Fargo

22   Insurance Services (“WFIS”). Defendants intend to present testimony from witnesses, including

23   former customers of Plaintiff, who will testify that in 2016, they were already looking to move

24   their business away from Wells Fargo because of the high-profile banking scandals that plagued

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     1
      Ogden, O’Keefe, and Haskell are referred to collectively as the “Individual Defendants.” The Individual Defendants
26   and ABD are referred to collectively as “Defendants.”

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 1   Wells Fargo at that time, and that even if Defendants had not remained employed at WFIS, they

 2   may have moved their business. Once Ogden and O’Keefe left WFIS, clients serviced by those

 3   employees will testify that they most certainly would have left WFIS regardless of whether Ogden

 4   and O’Keefe could continue working on their accounts, because their trusted advisors were no

 5   longer there and they otherwise no longer trusted the Wells Fargo name, which had become

 6   synonymous with fraud. Similarly, Lewis Dorrington will testify that he was motivated to leave

 7   WFIS when he resigned due in large part to the banking scandals, which he no longer wanted to

 8   be associated with and his clients were telling him they no longer wanted to be associated with.

 9   Testimony regarding the impact of the scandal on Dorrington’s and customers’ decision-making

10   process is thus directly relevant to the questions of (1) whether WFIS ever could have retained the

11   clients it claims it lost, even if Ogden and O’Keefe had not serviced those clients at ABD, and (2)

12   whether Lewis would have stayed at USI, even if Haskell had not given Dorrington Kurt de

13   Grosz’s name, and should be admitted at trial.

14           Plaintiff’s Motions to exclude testimony regarding the “financial condition” of WFIS, or

15   the perceived “unfairness” of the Individual Defendants’ contracts should be denied for similar

16   reasons. To the extent that Dorrington’s or a customer’s decision to leave WFIS was influenced

17   by concerns about WFIS’s financial condition, the jury should be permitted to take those concerns

18   into consideration when assessing causation. Likewise, if a customer chose to stop doing business

19   with WFIS because it believed the Individual Defendants’ restrictive covenant agreements were

20   “unfair,” the jury is entitled to consider that reasoning as well. Plaintiff bears the burden of proving

21   it would have retained Ogden and O’Keefe’s clients if they did not service them at ABD for two

22   years after their resignations from Plaintiff, and that it would have retained Dorrington (and his

23   clients) if Haskell had not given de Grosz’s name to Dorrington. Evidence that shows the clients

24   or Dorrington would have left USI is directly relevant to the question of causation and the

25   quantification of Plaintiff’s claimed damages, and Plaintiff is not entitled to preclude witnesses

26   from testifying regarding the true reasons they decided to stop doing business with WFIS simply

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 1   because that testimony is unhelpful to Plaintiff’s case. Accordingly, the Court should deny

 2   Plaintiff’s First, Third, and Fourth Motions in Limine.

 3           The Court should also deny Plaintiff’s request to preclude Defendants from presenting “any

 4   lay or expert opinion testimony” in this case related to Plaintiff’s alleged damages. At the outset,

 5   Plaintiff’s Motion is based on the faulty premise that only retained experts may provide opinion

 6   testimony at trial, and in particular that only a retained expert may testify on the question of

 7   Plaintiff’s damages. That is not true. It is well-established that “percipient experts,” or, percipient

 8   witnesses with expertise in a field and involved in the events underlying the litigation, are

 9   permitted to rely upon their expertise when testifying about percipient facts, i.e., facts within their

10   own personal knowledge. See, e.g., Matsuura v. E.I. du Pont De Nemours & Co., 2007 WL

11   433115, at *4 (D. Haw. Feb. 2, 2007) (percipient witnesses may offer opinions based on their

12   personal knowledge and first-hand experience, so long as the information they testify about was

13   not acquired in preparation for trial in the instant case); Britz Fertilizers, Inc. v. Bayer Corp., 2009

14   WL 1748775, at * (E.D.Cal. June 17, 2009) (“percipient witness testimony is based on the firsthand

15   experience of the witness”).

16           Here, Defendant John Dorrington served as Managing Director of Plaintiff’s Seattle office,

17   where the other individual Defendants also worked when they worked for Plaintiff. See ECF No.

18   70, Plaintiff’s Motion for Summary Judgment at 9:12. Plaintiff’s damages theory relies explicitly

19   on “financial statements” provided to Plaintiff’s expert by Plaintiff about the performance and

20   profitability of Plaintiff’s Seattle office. See ECF No. 147-3, 7/16/2019 Expert Report of Peter H.

21   Nickerson at 3-4. Those financial statements include costs and other information that Nickerson

22   ignores in calculating his alleged lost profits. At trial, Haskell will testify about his personal

23   experience as Managing Director of Plaintiff’s Seattle office, including the costs involved in doing

24   business in the office and that his job responsibilities at Plaintiff included reading and relying on

25   Plaintiff’s financial statements and customer account data, including the financial documents and

26   data relied upon by Nickerson. Similarly, the other individual Defendants will testify about their

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 1   job responsibilities at Plaintiff, their historical client revenues, and the costs involved in their

 2   generation of those revenues. Haskell and the other individual Defendants will also testify about

 3   their experience preparing forecasts and budgets at Plaintiff, how far out they could reasonably

 4   forecast future revenues while they worked at Plaintiff and why, and why certain costs were

 5   included or excluded in the budgets they helped prepare and/or rely upon while working for

 6   Plaintiff. This testimony is based on their own percipient experiences and expertise, is directly

 7   relevant to this case and the reasonableness of the damages analysis that Plaintiff and its expert

 8   Nickerson will present, and is admissible. See, e.g., Allied Systems, Ltd. v. Teamsters Auto.

 9   Transport Chauffeurs, Demonstrators & Helpers, Local 604, Affiliated with Int'l Broth. of

10   Teamsters, Chauffeurs, Warehousemen & Helpers of America, 304 F.3d 785, 792 (8th Cir. 2002)

11   (bookkeeper's lay opinion as to damages to a business was admissible because of firsthand

12   knowledge obtained from recordkeeping and a field audit); United States v. Anderskow, 88 F.3d

13   245, 250 (3d Cir. 1996) (lay opinion testimony can be based on the witness’ “knowledge and

14   participation in the day-to-day affairs of his [or her] business,” and witness’s weekly

15   correspondence by telephone and fax provided sufficient first-hand knowledge to give lay opinion

16   on lost profits); Lightning Lube, Inc. v. Witco Corp., 4 F.3d 1153, 1175 (3d Cir. 1993) (lay

17   testimony may be offered to show how lost profits could be calculated so long as the witness has

18   personal knowledge of the pertinent accounting system and balance sheets); Mississippi Chem.

19   Corp. v. Dresser-Rand Co., 287 F.3d 359, 373-74 (5th Cir. 2002) (collecting cases). There is thus

20   no basis for the Court to preclude such testimony here. For these reasons, and as described in

21   greater detail below, the Court should deny each of Plaintiff’s Motions in Limine.

22   II.    EVIDENCE REGARDING THE WELLS FARGO BANKING SCANDAL IS
            RELEVANT TO CAUSATION AND ADMISSIBLE.
23
            The Court should deny Plaintiff’s First Motion in Limine, which seeks the complete
24
     exclusion of evidence regarding Wells Fargo’s fraudulent consumer banking practices, because
25
     such evidence is relevant to the causation questions that the jury must decide in this case. As
26

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 1   explained in more detail in Defendants’ Motion in Limine No. 6, such evidence is relevant to (1)

 2   Dorrington’s reasons for leaving WFIS and joining ABD; and (2) to former WFIS customers’

 3   decisions to end their business relationship with WFIS. Rather than confront the significant impact

 4   of this well-publicized scandal on Dorrington’s and customers’ decision-making process, Plaintiff

 5   instead requests that these individuals pretend it never occurred. This would unfairly deprive the

 6   jury of relevant evidence that is highly probative of key causation issues that remain to be tried.

 7          As an initial matter, Plaintiff’s Motion rests upon the false premise that Defendants intend

 8   to introduce evidence of the Wells Fargo banking scandals solely to “instill[] prejudice in the jury

 9   against USI.” ECF No. 179 at 3. To the contrary, Defendants do not intend to delve into or dwell

10   upon the Wells Fargo scandals in detail (unless required to do so to rebut evidence or argument by

11   Plaintiff at trial minimizing the scandal or attempting to claim the scandal dated to a different time

12   period, as Plaintiff incorrectly argues in its Motion in Limine). Instead, evidence regarding the

13   existence of these scandals will be presented solely for context on the effect on the decisions of

14   Dorrington and WFIS customers to leave WFIS.

15          This decision-making process is directly relevant to causation. To prevail on its contractual

16   claim against Haskell, Plaintiff must establish that Haskell’s sharing of Kurt de Grosz’s name with

17   Dorrington caused Dorrington to leave WFIS. Similarly, for the claims against Ogden and

18   O’Keefe, Plaintiff must show that their customers would have kept their accounts at WFIS even if

19   they could not be serviced by Ogden or O’Keefe at ABD. See, e.g, Nw. Indep. Forest Mfrs. V.

20   Dep’t of Lab & Indus., 78 Wash. App. 707, 712, 899 P.2d 6, 9 (1995) (breach of contract is

21   actionable only if breach proximately causes the damage and plaintiff must establish such

22   causation).

23          Dorrington and former WFIS customers have already said in sworn statements that the

24   Wells Fargo scandal influenced their decision to leave WFIS. See, e.g., ECF No. 80, Dorrington

25   Decl. ¶¶ 7-10; ECF No. 93, Kehoe Decl. ¶ 5; ECF No. 87, Carlson Decl. ¶ 5; ECF No. 96,

26   Humphrey Decl. ¶ 7. It is therefore immaterial that WFIS and Wells Fargo Bank are separate

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 1   entities. As Plaintiff admits, WFIS and Wells Fargo Bank shared a parent company and obviously

 2   shared the Wells Fargo brand name. As a result, it is not at all surprising that customers would

 3   have concerns about continuing to do business with any Wells Fargo entity in light of the

 4   significant negative publicity associated with Wells Fargo at the time. Such testimony is relevant

 5   to causation, even if the concern was misplaced, which defendants do not believe it was.

 6           Plaintiff’s attempt to downplay the relevance of the negative publicity surrounding Wells

 7   Fargo Bank by suggesting that the “allegations arose no later than 2013” is also false and

 8   misleading. As explained in the Wikipedia entry for the “Wells Fargo cross-selling scandal,”

 9   “News of the fraud became widely known in late 2016 after various regulatory bodies, including

10   the Consumer Financial Protection Bureau (CFPB), fined the company a combined $185 million

11   as a result of the illegal activity.”2 At that time, the CFPB announced it found that “thousands of

12   Wells Fargo employees illegally enrolled consumers in [Wells Fargo] products and services

13   without their knowledge or consent in order to obtain financial compensation for meeting their

14   sales targets.”3 The effect of the CFPB’s announcement was both devastating and public. The

15   state of California and numerous other states and municipalities suspended their relationships with

16   Wells Fargo starting that same month.4 By October 2016, politicians of every stripe were calling

17   for investigation beyond that done by the CFPB. 5 When Wells Fargo reported its earnings in

18   January 2017, it announced it would close over 400 of its approximately 6000 branches by the end

19
     2
20     See Wells Fargo cross-selling scandal, Wikipedia, available at https://en.wikipedia.org/wiki/Wells_Fargo_cross-
     selling_scandal (last visited Jan. 16, 2023).
     3
21     See Consumer Financial Protection Bureau Fines Wells Fargo $100 Million for Widespread Illegal Practice of
     Secretly Opening Unauthorized Accounts, Consumer Financial Protection Bureau (Sept. 8, 2016), available at
22   https://www.consumerfinance.gov/about-us/newsroom/consumer-financial-protection-bureau-fines-wells-fargo-100-
     million-widespread-illegal-practice-secretly-opening-unauthorized-accounts/) (last visited May 5, 2022); see also
     Blake, Paul, Timeline of the Wells Fargo Accounts Scandal (Nov. 3, 2016), available at
23
     https://abcnews.go.com/Business/timeline-wells-fargo-accounts-scandal/story?id=42231128 (last visited May 5,
     2022) (noting that the “misconduct was revealed when the [CFPB], the Los Angeles City Attorney, and the Office of
24   the Comptroller of the Currency fined the bank $185 million” in September 2016).
     4
       Corkery, Michael, California Suspends Ties With Wells Fargo The New York Times (September 28, 2016),
25   available at https://www.nytimes.com/2016/09/29/business/dealbook/california-wells-fargo-john-stumpf.html?_r=0.
     5
       Stumpfed (October 13, 2016), The Economist, available at https://www.economist.com/finance-and-
26   economics/2016/10/13/stumpfed?zid=300&ah=e7b9370e170850b88ef129fa625b13c4.

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 1   of 2018.6 Indeed, Plaintiff’s assertion that Defendant’s “timeline is demonstrably false” is belied

 2   by its own citations to news reports. See ECF No. 179 at 3 n. 1 (citing Vanity Fair article from

 3   Summer 2017 – several months after Dorrington left WFIS).

 4           In sum, there was significant negative publicity surrounding WFIS in late 2016 and early

 5   2017 – the time-period at issue in this litigation – and the jury should be permitted to hear evidence

 6   regarding the impact that negative publicity had on Dorrington’s and customers’ decision to leave

 7   WFIS. This evidence is highly probative of causation and Defendants’ ability to discuss how the

 8   scandal impacted Dorrington’s and customer’s decisions is essential to their ability to have a fair

 9   trial and be able to put on their defense to Plaintiff’s inflated, $10 million damage calculation. The

10   fact that it may also cast WFIS in a negative light does not warrant its exclusion and can be

11   addressed through a curative instruction, if Plaintiff so requests, instructing the jury that the

12   evidence is to be considered for the limited purpose of causation and not to Plaintiff’s character.

13   Burke v. City of Santa Monica, 2011 WL 13213593, at *6 (C.D. Cal. Jan. 10, 2011) (to be excluded

14   under Rule 403, evidence must create a risk of unfair prejudice, “not simply the prejudice that any

15   relevant evidence would create”); Cadet Mfg. Co. v. Am. Ins. Co., 2006 WL 8455266, at *3 (W.D.

16   Wash. June 28, 2006) (“Evidence is unfairly prejudicial only if it has an undue tendency to suggest

17   to the jury that it should make a decision on an improper basis.”).

18
     III.    PLAINTIFF’S REQUEST FOR THE EXCLUSION OF “LAY OPINION
19           TESTIMONY” ON DAMAGES IS OVERBROAD AND CONTRARY TO THE
             COURT’S SUMMARY JUDGMENT DECISION.
20

21           The Court should also deny Plaintiff’s Second Motion in Limine, which seeks to preclude

22   Defendants from presenting “lay or expert opinion” testimony on Plaintiff’s damages or any other

23   topic.7 Plaintiff’s arguments are an improper attempt to re-litigate arguments the Court rejected

24
     6
       Keller, Laura (January 13, 2017). "Wells Fargo Plans to Close More Than 400 Branches Through 2018".
25   Bloomberg. Retrieved May 14, 2017.
     7
       Defendants do not dispute that the Court has already determined that they may no longer disclose a retained expert
26   witness. See ECF No. 173. Consequently, and without waiving any right Defendants’ have to appeal the prior order,

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 1   on summary judgment and preclude Defendants from challenging USI’s damage calculations at

 2   trial. See ECF No. 179 at 5:1-3. Because opinion testimony that is based on the Defendants’ and

 3   Dorrington’s particularized knowledge gained by virtue of their employment at WFIS and ABD is

 4   admissible, Plaintiff’s Motion must be denied.

 5            To begin, the Court has already rejected Plaintiff’s contention that proof of damages in this

 6   case requires expert opinion testimony and that “lay opinion testimony” on Plaintiff’s damages is

 7   inadmissible. See ECF No. 128 at 19:9-12. It is axiomatic that, all expert opinion must be

 8   grounded in fact, and Defendants should be permitted to test the factual bases underlying the

 9   opinions proffered by Plaintiff’s experts R. Bryan Tilden and Peter Nickerson. Contrary to

10   Plaintiff’s suggestion, Defendants are not required to accept the damage calculations of Plaintiffs’

11   experts as “completely accurate and reliable” simply because they have not proffered their own

12   retained expert. See ECF No. 179 at 5:1-3.

13            The fundamental problem with Plaintiff’s Motion is that it improperly seeks to exclude

14   opinion testimony from “percipient witnesses.” See, e.g., Matsuura v. E.I. du Pont De Nemours

15   & Co., 2007 WL 433115, at *3 (D. Haw. Feb. 2, 2007). A percipient witness is a witness who is

16   an expert in a particular field and was also involved in the underlying litigation. Id. The classic

17   example is a treating physician. Id. Such witnesses are permitted to state “expert” facts to a jury in

18   order to explain their testimony, without being considered an expert witness under Rule 26(a). Id.

19   (citing 6 Moore’s Federal Practice § 26.23[2][b] (3d ed. 2001)). Percipient witnesses may offer

20   opinions based on their personal knowledge and first-hand experience, so long as the information

21   they testify about was not acquired in preparation for trial in the instant case. Id. at *4; Britz

22   Fertilizers, Inc. v. Bayer Corp., 2009 WL 1748775, at * (E.D.Cal. June 17, 2009) (“[P]ercipient

23   witness testimony is based on the firsthand experience of the witness.”)

24            Applying the above principles here, the Defendants and Dorrington should be permitted to

25
     Defendants do not intend to call any retained expert at trial, unless the Court reconsiders or otherwise changes its prior
26   order.

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 1   testify regarding issues that are relevant to the calculation of damages based upon their status as

 2   percipient witnesses. For example, the Individual Defendants and Dorrington should be able to

 3   offer opinions—based on their personal knowledge—regarding the unique nature of the marine

 4   insurance industry, who their competitors in the marine insurance industry were, what costs are

 5   necessarily incurred for professionals in the industry to perform their jobs effectively, and

 6   USI/WFIS’s ability to continue servicing clients in the marine insurance industry following their

 7   departure. While these opinions necessarily reflect some level of expertise, they were formed

 8   during the course of the Individual Defendants’ employment at WFIS and ABD and during the

 9   events giving rise to this litigation. Accordingly, such testimony is admissible. See, e.g., Fed. R.

10   Evid. 701 (Committee Notes on Rules – 2000 Amendment) (explaining opinion testimony on

11   topics like the projected profits of a business by the owner or officer of business is admissible “not

12   because of experience, training or specialized knowledge within the realm of an expert, but because

13   of the particularized knowledge of the witness by virtue of his or her position in the business”).

14           Similarly, the individual Defendants and Dorrington—and in particular Haskell, who was

15   the Managing Director at Plaintiff’s Seattle office before he left Plaintiff to join ABD—should be

16   permitted to testify about the financial documents and data that they had responsibilities for

17   reviewing and relying on while they worked for Plaintiff. Haskell had percipient experience and

18   expertise with the same financial documents and data that Plaintiff’s retained expert Nickerson

19   relies upon in his damages opinions. Haskell can add relevant, percipient testimony explaining

20   the costs that are shown in those financial documents, and all individual Defendants can testify

21   about their real-world experience preparing budgets and forecasts while working at Plaintiff. All

22   of this real-world, percipient testimony will be directly relevant to the damages testimony that

23   Plaintiff’s retained expert was hired to present for this lawsuit, and it is admissible. See, e.g., Allied

24   Systems, Ltd., 304 F.3d at 792 (bookkeeper's lay opinion as to damages to a business was

25   admissible because of firsthand knowledge obtained from recordkeeping and a field audit);

26   Anderskow, 88 F.3d at 250 (lay opinion testimony can be based on the witness’ “knowledge and

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 1   participation in the day-to-day affairs of his [or her] business,” and witness’s weekly

 2   correspondence by telephone and fax provided sufficient first-hand knowledge to give lay opinion

 3   on lost profits); Lightning Lube, 4 F.3d at 1175 (lay testimony may be offered to show how lost

 4   profits could be calculated so long as the witness has personal knowledge of the pertinent

 5   accounting system and balance sheets).

 6          At minimum, the Court should defer ruling on this Motion until particular evidence or

 7   testimony is presented at trial. Plaintiff has failed to identify any actual “lay opinion testimony”

 8   or “percipient expert testimony” that it believes should be excluded. Accordingly, it is not possible

 9   for the Court to make any definitive ruling as to admissibility. See Kingston v. Int’l Bus. Mach.

10   Corp., 2021 WL 1158191, at *2 (W.D. Wash. March 26, 2021) (reserving ruling on motion in

11   limine where Plaintiff had “not identified any specific evidence or testimony to which the motion

12   applied”); Turner v. Univ. of Wash., 2007 WL 2984682, at *1 (W.D. Wash. Oct. 10, 2007) (“A

13   court considering a motion in limine may reserve judgment until trial, so that the motion is placed

14   in the appropriate factual context.”). The Court should therefore, at a minimum, reserve judgment

15   until presented with live testimony for consideration.

16
     IV.    TESTIMONY FROM FORMER WFIS CUSTOMERS REGARDING THE
17          PERCEIVED FAIRNESS OF RESTRICTIVE COVENANT AGREEMENTS IS
            RELEVANT AND ADMISSIBLE WITH RESPECT TO CAUSATION
18

19          In its Third Motion in Limine, Plaintiff seeks an order barring “all evidence, testimony, or

20   argument regarding any of the contracts at issue being ‘unfair.’” ECF No. 179 at 2:6-7. Neither

21   Defendants nor their counsel intend to introduce testimony or argument regarding the “fairness”

22   or “unfairness” of the Individual Defendants’ contracts.         Nevertheless, Defendants oppose

23   Plaintiff’s Third Motion in Limine to the extent that it purports to prevent former WFIS

24   customers—over whom Defendants have no control—from testifying about a potential reason for

25   their decision to leave WFIS. Defendants are not aware of any testimony in the record describing

26   the contracts at issue as unfair (and Plaintiff has identified none). However, customers may testify

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 1   that they decided to stop doing business with WFIS because they learned about their brokers’

 2   restrictive covenant agreements, and did not believe it was fair for WFIS to prevent them from

 3   continuing their relationship with their preferred broker. This testimony would be more probative

 4   than prejudicial because it has no tendency to suggest decision on an improper basis. 8 To the

 5   contrary, it would provides a description of a relevant factor that a customer may have considered

 6   when ending their business relationship with WFIS.

 7   V.       TESTIMONY REGARDING WITNESS’S PERCEPTION OF WFIS’ FINANCIAL
              CONDITION IS RELEVANT TO CAUSATION
 8
              The Court should also deny Plaintiff’s Fourth Motion in Limine, which seeks to bar all
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     evidence, testimony, or argument regarding WFIS’s “financial condition.” Defendants do not
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     intend to introduce evidence or argument regarding financial condition of WFIS or USI in the
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     abstract, but they do intend to introduce such testimony to the extent it relates to the reasons that
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     Dorrington and/or customers decided to leave WFIS. Witnesses should be permitted to testify
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     regarding their perception of WFIS’s financial condition if it played a role in their decision to leave
14
     WFIS. These perceptions are relevant to causation, which Plaintiff must establish through proof
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     that Dorrington and customers would have remained at WFIS if the Individual Defendants had not
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     breached their contracts. See Fed. R. Evid. 401 (“Evidence is relevant if it has any tendency to
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     make a fact more or less probable than it would have been without the evidence; and the fact is of
18
     consequence in determining the action.”).
19
              Contrary to Plaintiff’s assertion, Dorrington’s concerns about WFIS’s finances are not an
20
     “after-the fact” or “alternative theory” that Defendants are raising for the first time at trial. See
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     ECF No. 179 at 12:13-16.              Dorrington has already stated under oath that he resigned his
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     employment at WFIS due to its “uncertain future” in the wake of negative publicity associated
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     with WFIS and Wells Fargo Bank, specifically noting his belief that the WFIS Seattle office would
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      It is also somewhat ironic that Plaintiff contends that the mere potential that a witness might describe a contract as
     “unfair” is unduly prejudicial, while simultaneously planning to rely on far more inflammatory language to describe
26   Defendants’ conduct as a “raid” or “piracy” to the jury. See ECF No. 181 at 8-10.

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 1   be sold off to a competitor. See ECF No. 80, at ¶¶ 3, 7. Given the significant negative publicity

 2   surrounding Wells Fargo at the time, it is likely that customers had similar concerns. It would

 3   therefore be unfair and prejudicial for the Court to prevent the jury from hearing testimony on this

 4   topic to the extent it impacted clients’ decision-making process.

 5          Plaintiff’s contention that WFIS’s financial condition is outside the personal knowledge of

 6   Defendants’ witnesses is also without merit. Whether a witness had direct knowledge of the actual

 7   financial condition of WFIS when making their decision to leave WFIS is irrelevant. The only

 8   thing that matters is the witness’s perception of the situation. Testimony regarding these sorts of

 9   perceptions is expressly permitted under Rule 602. Indeed, the Advisory Comments to Rule 602

10   recognize that “personal knowledge is not an absolute but may consist of what the witness thinks

11   he knows from personal perception.” See Fed. R. Evid. 602 (Original Committee Notes)

12   (emphasis added). Thus, there is no basis to exclude testimony regarding witness’s perceptions of

13   WFIS’s financial condition under Rule 602. Likewise, there is no risk of unfair prejudice or

14   confusion of the issues. Testimony regarding Dorrington’s or a client’s reason for leaving WFIS

15   does not have an “undue tendency to suggest to the jury that it should make a decision on an

16   improper basis.” Cadet Mfg. Co. v. Am. Ins. Co., 2006 WL 8455266, at *3 (W.D. Wash. June 28,

17   2006). To the contrary, the reasons that Dorrington and clients decided to leave WFIS are precisely

18   what the jury must weigh and assess to determine whether Plaintiff suffered any damages resulting

19   from Defendants’ breach of contract. As a result, such evidence is more probative than prejudicial,

20   and Plaintiff’s Motion should be denied.

21   VI.    CONCLUSION
22          FOR THE FOREGOING REASONS, Defendants respectfully request that the Court

23   enter an order denying Plaintiff’s Motions in Limine.

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 2

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 1                                    CERTIFICATE OF SERVICE

 2
            I hereby declare that on this 17th day of January, 2023, I caused a copy of the foregoing to
 3
     be electronically filed with the Clerk of Court using the CM/ECF system which will send
 4
     notification of such filing to the following:
 5
     Anne E. Reuben (areuben@littler.com)
 6   Megan Crowhurst (mcrowhurst@littler.com)
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 8                                                               /s/ Patrick R. Duffey

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